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11   Institute for Fisheries Resources

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13                             UNITED STATES DISTRICT COURT
14                        FOR THE EASTERN DISTRICT OF CALIFORNIA

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       PACIFIC COAST FEDERATION OF                       Case No. 1:20-cv-00431-DAD-EPG
16     FISHERMEN’S ASSOCIATIONS, et al.,
                                                         SUPPLEMENTAL DECLARATION OF
17                       Plaintiffs,                     BARBARA CHISHOLM IN SUPPORT OF
                                                         PLAINTIFFS’ REPLY IN SUPPORT OF
18               v.                                      MOTION FOR PRELIMINARY
19     GINA RAIMONDO, in her official                    INJUNCTION FOR 2022
       capacity as Secretary of Commerce, et al.,
20                                                       Hearing date: February 11, 2022
                         Defendants.                     Judge: Hon. Dale A. Drozd
21
                                                         Courtroom 5, 7th Floor
22
                                                         2500 Tulare Street
23                                                       Fresno, CA 93721

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        SUPP. DECL. OF BARBARA CHISHOLM ISO PLS.’ REPLY ISO MOT. FOR PRELIMINARY INJUNCTION
                                                                  Case No. 1:20-cv-00431-DAD-EPG
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 1   I, Barbara J. Chisholm, declare as follows:

 2          1.    I am an attorney representing Plaintiffs Natural Resources Defense Council

 3   (“NRDC”), Defenders of Wildlife, Golden State Salmon Association, and The Bay Institute in

 4   the above-captioned action and am a partner at the law firm of Altshuler Berzon LLP. I am a

 5   member in good standing of the bars of the State of California and this Court. I make this

 6   declaration based on my personal knowledge and, if called to testify, could and would testify as

 7   stated herein.

 8          2.    Attached hereto as Exhibit P is a true and correct copy of the Draft Winter-Run

 9   Juvenile Production Estimate (JPE) for Brood Year 2021 letter produced by the Interagency

10   Ecological Program’s Winter-Run Project Work Team. The document was e-mailed from

11   Jason Roberts of the California Department of Fish and Wildlife to Doug Obegi of NRDC on

12   January 3, 2022.

13          3.    Attached hereto as Exhibit Q is a true and correct copy of the 2020 Seasonal

14   Report for the Shasta Cold Water Pool Management prepared by Reclamation in December

15   2020. My office downloaded the document on January 20, 2022, at the following address:

16   <http://www.cbr.washington.edu/sacramento/workgroups/WOMT/documents/annual/WY2020/

17   LTO%20Shasta%20Cold%20Water%20Pool%20Seasonal%20Report%2012302020.pdf>.

18          4.    Attached hereto as Exhibit R is a true and correct copy of the DWR and

19   Reclamation’s January 18, 2022 letter withdrawing the Temporary Urgency Change Position

20   (“TUCP”) submitted on December 1, 2021. My office downloaded the document from the

21   State Water Resources Control Board’s (“SWRCB”) website on January 20, 2022, at the

22   following address: <https://www.waterboards.ca.gov/drought/tucp/docs/2022/20220118_dwr-

23   usbr-letter_tucp-withdrawal.pdf>.

24          5.    Attached hereto as Exhibit S is a true and correct copy of Reclamation’s Weekly

25   Assessment of CVP and SWP Delta Operations on ESA-listed Species dated January 18, 2022.

26   The document was emailed from Elissa Buttermore of Reclamation to Doug Obegi of NRDC

27   on January 18, 2022.

28          6.    Attached hereto as Exhibit T is a true and correct copy of DWR and Reclamation’s

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 1   April 8, 2014 Updated Report to SWRCB on Export Amounts to Maintain Health and Safety

 2   During Drought. My office downloaded the document from the SWRCB’s website on January

 3   20, 2022, at the following address:

 4   <https://www.waterboards.ca.gov/waterrights/water_issues/programs/drought/docs/tucp/03181

 5   4order_urgchg_swcv/20140408_dwrusbr_to_swrcb_updated_minhs.pdf>.

 6         7.    Attached hereto as Exhibit U is a true and correct copy of Reclamation’s March

 7   2021 Chinook Salmon Report, showing salvage and loss of winter-run and spring-run Chinook

 8   salmon and the amount of pumping each day by Reclamation and the State Water Project. My

 9   office downloaded this document from Reclamation’s website on January 20, 2022, at the

10   following address: <https://www.usbr.gov/mp/cvo/vungvari/salmon0321.pdf>.

11         8.    Attached hereto as Exhibit V is a true and correct copy of DWR’s January 20,

12   2022 Notice to State Water Project Contractors regarding 2022 State Water Project Table

13   Allocation Increase from 0 to 15 Percent. My office downloaded the document from DWR’s

14   website on January 20, 2022, at the following address: <https://water.ca.gov/-/media/DWR-

15   Website/Web-Pages/Programs/State-Water-Project/Management/SWP-Water-

16   Contractors/Files/22-01-2022-Allocation-Increase--15-Percent-012022.pdf>.

17         9.     Attached hereto as Exhibit W is a true and correct copy of DWR’s Allocation

18   Analysis for 2022 (TAF) dated January 6, 2022. This document is an excerpt of the State Water

19   Contractors Water Operations Committee Meeting packet for January 6, 2022 that was emailed

20   by Demetri Polyzos of the Metropolitan Water District of Southern California to Doug Obegi of

21   NRDC on January 10, 2022.

22         10.   On January 6, 2022, counsel for Federal Defendants e-mailed the parties to ask

23   about alternative hearing dates for the instant motions. In reply, I asked counsel for Federal

24   Defendants whether Reclamation plans to announce initial CVP allocations, including

25   allocations for its settlement and exchange contractors, in mid-February, or whether

26   Reclamation would wait until a decision is made by this Court on the pending motions. On

27   January 10, counsel for Federal Defendants replied that “Reclamation will make its initial

28   allocations in mid-February, pursuant to its various contracts.” A true and correct copy of this

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 1   e-mail correspondence is attached hereto as Exhibit X.

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 3          I declare under penalty of perjury under the laws of the United States that the foregoing is

 4   true and correct to the best of my knowledge.

 5          Executed this 24th day of January 2022 in Berkeley, California.

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 7                                                   /s/ Barbara J. Chisholm             .

 8                                                Barbara J. Chisholm

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         SUPP. DECL. OF BARBARA CHISHOLM ISO PLS.’ REPLY ISO MOT. FOR PRELIMINARY INJUNCTION
                                             3                     Case No. 1:20-cv-00431-DAD-EPG
